Case 2:24-cv-00572-JRG   Document 41-30   Filed 10/28/24   Page 1 of 3 PageID #:
                                    719




                          Exhibit S
         Case 2:24-cv-00572-JRG                   Document 41-30                Filed 10/28/24           Page 2 of 3 PageID #:
12,291 Federal District Court Cases                          720                                                                     Page 1 of 2




Federal Court
Showing 12,291 federal district court cases; in E.D.Tex.; pending between 2019-10-01 and 2024-09-30.; sorted by most recent docket activity.

Timing


                                                     0 days                                  2 years                           4 years


                                                       0            225                  669
      Dismiss (Contested)
      1,894 cases
      Median: 225 days

                                                              118         339



                                                        8                       493                            1,081
      Summary Judgment
      700 cases
      Median: 493 days

                                                                          380           661



                                                            69                         614                             1,241
      Trial
      195 cases
      Median: 614 days

                                                                                 509               824



                                                       0            259                                  954
      Termination
      9,773 cases
      Median: 259 days

                                                              124            456

                                                     0 days                                  2 years                           4 years




                                                https://law.lexmachina.com/cases/?pending-from=2019-10-01&pending-to=2024-09-30&court-
         Case 2:24-cv-00572-JRG                   Document 41-30           Filed 10/28/24         Page 3 of 3 PageID #:
12,291 Federal District Court Cases                          721                                                              Page 2 of 2



    Event                                                     Cases Reaching Event             Median Days from Case Filing to Order

    Temporary Restraining Order (Grant)                                         39                                                3
    (Remaining Federal cases are not included)

    Temporary Restraining Order (Deny)                                          24                                               28
    (Remaining Federal cases are not included)

    Preliminary Injunction (Grant)                                              51                                               75
    (Remaining Federal cases are not included)

    Preliminary Injunction (Deny)                                               31                                              199
    (Remaining Federal cases are not included)

    Permanent Injunction (Grant)                                               112                                              302
    (Remaining Federal cases are not included)

    Permanent Injunction (Deny)                                                  6                                               n/a
    (Remaining Federal cases are not included)

    FLSA Conditional Certification                                              25                                              268
    (Remaining Federal cases are not included)

    Class Certification                                                         18                                              692
    (Remaining Federal cases are not included)

    Claim Construction Hearing                                                 332                                              381
    (Remaining Federal cases are not included)

    Class Action Settlement                                                     15                                              830
    (Remaining Federal cases are not included)




                                                 https://law.lexmachina.com/cases/?pending-from=2019-10-01&pending-to=2024-09-30&court-
